              Case 2:17-cr-00064-JAM Document 243 Filed 06/22/20 Page 1 of 1


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     GEORGINA LOPEZ QUINTERO
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                     )       No. 2:17-CR-00064 JAM
 9
                                                   )
                                                   )
10          Plaintiff,                             )
                                                   )
11
     v.                                            )
                                                   )       ORDER SEALING ATTACHMENT TO
12
     Erendira Nava et al.                          )       DEFENSE BAIL MOTION FILED AS ECF
                                                   )       DOC NUMBER
13
                                                   )       241 IN 2:17-CR-00064 JAM
            Defendant.                             )
14
                                                   )
                                                   )
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                                                   )
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17          Pursuant to Local Rule 141(b), and based upon the representation contained in the
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     Request to Seal filed by defendant Georgina Lopez Quintero, IT IS HEREBY ORDERED that
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     the attachment to Defendant’s Bail Motion filed as ECF DOC Number 241 in 2:17-CR-00064
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     JAM shall be SEALED until further order of this Court.
21

22   Dated: June 22, 2020
                                                    _____________________________________
23                                                  CAROLYN K. DELANEY
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                                                    UNITED STATES MAGISTRATE JUDGE

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